  USCA Case #22-1073              Document #2074469             Filed: 09/12/2024     Page 1 of 1
                        United States Court of Appeals
                                   FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-1073                                                     September Term, 2024
                                                                                EPA-87FR24300
                                                           Filed On: September 12, 2024
Sinclair Wyoming Refining Company LLC and
Sinclair Casper Refining Company LLC,

                   Petitioners

         v.

Environmental Protection Agency,

                   Respondent

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American Coalition for Ethanol, et al.,
                   Intervenors
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Consolidated with 22-1075, 22-1100, 22-1102,
22-1109, 22-1114, 22-1115, 22-1122,
22-1128, 22-1129, 22-1130, 22-1132,
22-1133, 22-1135, 22-1165, 22-1181,
22-1183, 22-1185, 22-1186, 22-1187,
22-1188, 22-1189, 22-1190, 22-1191,
22-1192, 22-1194, 22-1195, 22-1197,
22-1199, 22-1219, 22-1238, 22-1240, 22-1246


         BEFORE:           Pillard, Rao, and Pan, Circuit Judges

                                               ORDER

        Upon consideration of petitioner Cross Oil Refining & Marketing, Inc.’s sealed
petition for panel rehearing filed on September 9, 2024, it is

         ORDERED that the petition be denied.

                                              Per Curiam

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                       BY:    /s/
                                                              Daniel J. Reidy
                                                              Deputy Clerk
